                   Case 3:02-cr-00005-DHB-BKE Document 524 Filed 02/11/15 Page 1 of 1
                                                         to l8 U S.C $ 3582(c)(2)
                                                   Pursuant                                                 Page I of 2 LPaBe2 Nol for P\rblic Disclosure)
AO247(10/ll) OrderResedingMorionfor Sentence
                                           Reduction

                                                                                                             l i q i l l c . - rl rI l vI rr ' r tv a ,tor
                                                                                                                                                    rJvttt
                                                        UNITED STATESDISTRICTCOURT                                   i t i rsit itlv.
                                                                   for the
                                                          SouthemDistrict of Georgia
                                                                                                            20liFtBI I pFt3: I I
                                                                 Dublin Division
                     United Statesof America
                                                                                                          iLtilt{
                                                                                                                  ) i.J.
                                    V.
                                                                             CaseNo: CR302-00005-007
                          WatrickioJohnson
                                                                             USMNo:11157-021
DateofOriginal Judgm€nt:      Februarv l1' 2003                              John P. Hanington
DateofPreviousAmendedJudgment:Jaluary 9. 2012                                Defendant'sAttomey
(Use Date of Last Anended Judenent iJ An)'l


                      Order RegardingMotion for SentenceReductionPursuantto 18 U'S'C' $ 3582(cX2)

       Uponmotionof Ithe defendant        !the Directorof theBureauof Prisonsflthe courtunderl8 U.S.C.
                                                       imposedbasedon a guidelinesentencing   rangethat has
$ 35SZ(c)i2)for a reductionin thetermof imprisonment
,uUr.qu"nttyU".n loweredandmaderetroactiveby theUnitedStatesSentencing          Commissionpursuantto 28 U S C
                                suchmotion,  andtaking into account the policy         setforth at USSG$ IBI 10and
                                                                               statement
$ 9946), andhavingconsidered
the sentencingfactofssetforth in l8 U.S.c. $ 3553(a),to the extentthatthey are applicable,

IT lS ORDEREDthatthemotionis:
                                                                of imprisonment
                                        previouslyimposedsentence                      inthetaltiudsmenl
                                                                              1a;rcJlected
I OfNmO. fl CnANffn andthe defendant's
                  of -!!!- monthsis reduced
             issaerJ)                      to time  served


                                              (ComplereParts I and tl of Page 2 when motion is granted)




 Except as otherwiseprovided above,all provisions ofthe judgnent dated
 IT IS SO ORDERED.

 OrderDate:



                                                                              DudleyH. Bowen,Jr.
 EffectiveDate: November1,2015                                                UnitedStatesDistrictJudse
                        (if dffirent from order datel                                        P,irtud ro." *dTiiif,--
